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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  In re:                                           § Chapter 15
                                                   §
  MtGox Co., Ltd. (a/k/a MtGox KK)                 § Case No. 14-31229-sgj-15
                                                   §
           Debtor in a Foreign Proceeding          §
                                                   §

            APPLICATION OF SCOTT B. KITEI FOR ADMISSION PRO HAC VICE

           1.     Name: Kitei, Scott B.

           2.     Firm Name: Honigman Miller Schwartz and Cohn LLP

           3.     Address: 2290 First National Bldg., 660 Woodward Ave., Detroit, MI 48226

           4.     Phone: 313.465.7524                  Fax: 313.465.7525

                  Email: skitei@honigman.com

           5.     Name used to sign all pleadings: Scott B. Kitei

           6.     Retained by: Gregory Greene

           7.     Admitted in 2014 and presently a member in good standing of the bar of the
                  highest court of the state of Michigan and issued the bar license number of
                  P78064.

           8.     Admitted to practice before the following courts:

                  Court:                                              Admission Date:

                  Illinois State Court                                11/4/2004
                  Northern District of Illinois                       12/2004

           9.     Are you presently a member in good standing of the bars of the courts listed
                  above?
                  ■ Yes          □ No
                  If “No,” please list all courts which you are no longer admitted to practice:




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         10.     Have you ever been subject to a grievance proceeding or involuntary removal
                 proceeding while a member of the bar of any state or federal court:

                 □ Yes          ■ No
                 If “Yes,” please provide details:



         11.     Other than minor traffic offenses, have you ever been charged, arrested, or
                 convicted of a criminal offense or offenses:

                 □ Yes          ■ No
                 If “Yes,” please provide details:



         12.     Please list all cases in the United States Bankruptcy Court, Northern District of
                 Texas in which you have filed for pro hac vice admission in the past three years:

                 Date of Application                  Case No. and Style:

                 N/A                                  ______________________________


         13.     Local counsel of record: Robin E. Phelan and Stephen Manz, Haynes and Boone,
                 LLP

         14.     Local counsel’s address: 2323 Victory Avenue, Suite 700, Dallas, TX 75219

         I respectfully request to be admitted to practice in the United States Bankruptcy Court for
  the Northern District of Texas for this Chapter 15 case and any related adversary proceedings
  only.

         I certify that I have read Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n, 121
  F.D.R. 284 (N.D. Tex. 1988) (en banc), and the local civil and bankruptcy rules of this court and
  will comply with the standards of practice adopted in Dondi and with the local civil and
  bankruptcy rules.




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